
PER CURIAM
*877Granted. Plaintiffs' allegations regarding the validity of the arbitration agreement are intertwined with its arguments relating to the nullity of the underlying agreement. Therefore, the issue is properly presented to arbitrator, not the court. See Buckeye Check Cashing, Inc. v. Cardegna , 546 U.S. 440, 126 S.Ct. 1204, 163 L.Ed.2d 1038 (2006) ; Cambas Electric, Inc. v. McDonnel Group, LLC , 16-1774 (La. 10/28/16), 208 So.3d 377. Accordingly, the judgment of the court of appeal is reversed and relators' exception of prematurity is granted.
Hughes, J., would deny.
